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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE



 EMMANUEL CORNET, JUSTINE DE
 CAIRES, GRAE KINDEL, ALEXIS
 CAMACHO, JESSICA PAN, EMILY KIM,
 MIGUEL ANDRES BARRETO, and BRETT
 MENZIES FOLKINS,

                               Plaintiffs,                   C.A. No. 1:23-cv-00441-CFC

                v.

 TWITTER, INC.,

                               Defendant.



  DECLARATION OF AKIVA M. COHEN IN FURTHER SUPPORT OF MOTION TO
                            INTERVENE

       I, Akiva M. Cohen, declare as follows:

       1.      I am counsel to non-parties Wolfram Arnold, Erik Froese, Tracy Hawkins, Joseph

Killian, Laura Chan Pytlarz, and Andrew Schlaikjer (collectively, the “Arnold Plaintiffs”), and

Jim Shobe, Isabelle Cannell, and Jaime Sena, and submit this Declaration in Further Support of

Motion for Leave to File Brief As Amicus Curiae, to Intervene for a Limited Purpose or to

Coordinate Briefing with Related Case. I have personal knowledge of the facts set forth herein

and could and would testify competently thereto if required to do so.

       2.      Annexed hereto as Exhibit 1 is a true and correct copy of Twitter’s Merger

Agreement, dated April 25, 2022

       3.      Annexed hereto as Exhibit 2 is a true and correct copy of the Acquisition FAQ,

originally dated May 19, 2022, updated most recently on October 27, 2022.

       I declare under penalty of perjury under the laws of the State of California and the United
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States that the foregoing is true and correct.

       Executed this 12th day of June 2023 in Oceanside, NY.




                                     _____________________________________
                                               Akiva M. Cohen
